 

Oa Se WwW WN

Oo fo ns DD

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

CLEPK US BANKRUPTCY CCURT
Albert N. Kennedy, OSB No. 82142 ees
Direct Dial: (503) 802-2013

Facsimile: (503) 972-3713 4 NOV 22 PI 47
E-Mail: al@tonkon.com
Timothy J. Conway, OSB No. 85175 _ . AP

Direct Dial: (503) 802-2027 freee sae
Facsimile: (503) 972-3727 PAID Uw DCR ETE
E-Mail: tim@tonkon.com

Michael W. Fletcher, OSB No. 01044
Direct Dial: (503) 802-2169
Facsimile: (503) 972-3869
E-Mail: michaelf@tonkon.com

TONKON TORP LLP

1600 Pioneer Tower

888 S.W. Fifth Avenue

Portland, OR 97204

 

Attorneys for Tort Claimants Committee

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF OREGON
In re ) Case No. 04-37154-elp11
ROMAN CATHOLIC ARCHBISHOP OF
PORTLAND IN OREGON, AND

SUCCESSORS, A CORPORATION SOLE,

) SUPPLEMENTAL DECLARATION
dba the ARCHDIOCESE OF PORTLAND _ )
)
)
)
)

OF JON R. CONTE, Ph.D.

IN OREGON,
Debtor.

 

I, Jon R. Conte, Ph.D., under penalty of perjury under the laws of the State of
Washington, hereby declare as follows:

1. I have reviewed the Tort Claimants Committee's proposed media
campaign. As a general strategy, such a campaign is consistent with my previous
Declaration.

EFFECTIVENESS.
2. The limitations necessarily imposed upon use of the public media and

the sensitivities of the general public exposed to the media unfortunately must limit the terms

Page lof4- SUPPLEMENTAL DECLARATION OF JON R. CONTE, Ph.D.

Tonkon Torpur
888 SW Fifth Avenue, Suite 1600
Portland, Oregon 97204

Case 04-37154-tmb11 “BUe"'640 Filed 11/22/04
oOo CoO ~~ D

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

used to describe priest sexual abuse by not using sexually specific language to describe the
conduct of interest. Therefore, the terms used in the proposed campaign are not specific
enough to alert many victims that they are potential claimants. The global and vague
language used in the draft campaign can be modified to help alleviate that problem before
finalized. Most importantly, the general content of the campaign and printed materials
prepared for distribution should be reviewed by a focus group of survivors, their families and
researchers to ensure effectiveness.

3. The media campaign should be supplemented by a direct mailing to
the general public or a targeted mailing to Catholic families that were likely exposed to priest
sexual abuse. A targeted mailing could be generated by using the names of all identified
perpetrators, their employment histories, and lists of parishioners and families to target in the
identified parishes, schools and other institutions where abusive Catholic priests were
employed.

4. I understand that the media campaign will include a web page, follow-
up written materials and a telephone hotline where more specific descriptions of the abusive
conduct at issue could be used to ensure that victims are able to determine whether they have
claims to assert.

ILLUSTRATION OF PSYCHOLOGICAL BARRIERS TO DISCLOSURE

5. In June 2000, I evaluated an individual, D.B., a victim of sexual abuse
by a Catholic cleric. I have recently reviewed a videotape of D.B. describing some of the
circumstances of his abuse. That video is attached to this Declaration as Exhibit One. My
words cannot adequately describe the dynamics and suffering experienced by a victim of
childhood sexual abuse. Without understanding that suffering, one cannot appreciate how
difficult it is to provide fair notice to victims of childhood sexual abuse. D.B. illustrates the
self blame and shame which successfully silence a well educated and professionally

successful man abused in his childhood by a Catholic priest. D.B. describes how a priest

Page 2 0f4- SUPPLEMENTAL DECLARATION OF JON R. CONTE, Ph.D.

Tonkon Torpur

888 SW Fifth Avenue, Suite 1600
Portland, Oregon 97204

Case 04-37154-tmb11°"’ B6e 640 Filed 11/22/04

 

 
OO & Ww WN

oO Oo “SDN

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

used the trappings of religion to gain access and control over his intended victim. The priest
implemented an active strategy to separate the boy from his family by keeping a secret from
the boy's father and then making his sexual use of the boy another secret. While not fully
described in the video, in my evaluation I learned that D.B. was abused in a severe way.
Unlike many victims, he was successfully able to avoid the priest after a relatively short
period of abuse. D.B. did not talk about the abuse for over 40 years. He rarely thought about
the abuse, until December 1999, when he read a newspaper story about the abusive conduct
of an Oregon priest.

6. D.B. lived life depressed, anxious and periodically alcoholic. He
avoided church and reminders of abuse to protect himself from his feelings of betrayal,
shame and hopelessness. To be effective, notice to potential claimants needs to overcome the
barriers illustrated by D.B.'s history. The notice needs to deal with the profound suffering
D.B. obviously experiences as he describes the abuse. It should be noted that D.B. is better
able to deal with his personal suffering than the vast majority of victims I have evaluated.

UNINTENDED POTENTIAL FOR HARM

7. Inherent in any public media campaign to reach potential claimants
will be exposure to the notice of children, adolescent and adult victims of abuse. Many of
those individuals are victims of perpetrators who have no relationship whatsoever to the
Catholic church and, therefore, are not claimants in this bankruptcy. The public notice will,
of necessity, be inherently emotional. These third party victims will not anticipate and
perhaps will not want to be exposed to the notice. For an unknown group of such
individuals, exposure to the notice content will be associated with destabilization, regression,
a deterioration in functioning and may potentially be responsible for extreme emotional
reactions. Use of a public notice carries a high risk of intensification of victim symptoms;
such as substance abuse, deterioration in relationships, deterioration in the ability to manage

work and family lives, and suicidality. The link between childhood sex abuse and suicidality

Page 3 of 4- SUPPLEMENTAL DECLARATION OF JON R. CONTE, Ph.D.

Tonkon Torpur
888 SW Fifth Avenue, Suite 1600
Portland, Oregon 97204

Case 04-37154-tmb11 *B6"640 Filed 11/22/04

 

 
Oo © NN DB DW Se WD NH

Nm KN NNO KO NO Dw eth ah fa
nm & | NO —@ OO 06 6 NN DBD A SF WH YY & OS

26

 

is extremely strong. Because these third party victims totally unrelated to the church may be
negatively affected by the proposed media campaign, it is important that the web page, the
telephone crisis line and related written materials include information and referral sources so
that these non-claimant victims who will suffer by exposure to the notice are provided
necessary resources.

8. The media campaign and notice procedures utilized need to provide a
means to safely address the resurrected trauma and trauma symptoms that will be generated
by this process.

DATED this 4” day of November, 2004.

 

JOWR. CO , Ph.D.

032545\000011599218 VO001

Page 40f4- SUPPLEMENTAL DECLARATION OF JON R. CONTE, Ph.D.

Tonkon Torpur

Case 04-37154-tmb11 Doc 640 Filed 11/22/04

 
10
il
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26

 

 

CERTIFICATE OF SERVICE

I hereby certify that I served the foregoing SUPPLEMENTAL
DECLARATION OF JON R. CONTE, Ph.D. on the parties on the attached List of
Interested Parties by:

[><] mailing a copy thereof in a sealed, first-class postage prepaid envelope,
addressed to each party's last-known address and depositing in the U.S. mail at Portland,
Oregon on the date set forth below;

[_] causing a copy thereof to be hand-delivered to each party at each party's
last-known address on the date set forth below;

[_] sending a copy thereof via overnight courier in a sealed, prepaid envelope,
addressed to each party's last-known address on the date set forth below;

[_] faxing a copy thereof to each party at such party's last-known facsimile
number on the date set forth below; or

[_] e-mailing a copy thereof to each party at such party's last-known e-mail
address on the date set forth below.

DATED this 22nd day of November, 2004.
TONKON TORP LLP

 

Attorney for Tort Claimants Committe é€

032545\00001\599218 V001

Page 1 of 1- CERTIFICATE OF SERVICE

Tonkon Torpur
888 SW Fifth Avenue, Suite 1600
Portland, Oregon 97204

Case 04-37154-tmb11 “Bd@°640 Filed 11/22/04
LIST OF INTERESTED PARTIES

In re Roman Catholic Archbishop of Portland in Oregon, and Successors, a corporation sole

Thomas W. Stilley

William N. Stiles

Sussman Shank LLP

1000 S.W. Broadway, Suite 1400

Portland, OR 97205-3089
Attorneys for Debtor Roman
Catholic Archbishop of
Portland in Oregon

Pamela J. Griffith

U.S. Trustee's Office

620 S.W. Main Street, Room 213
Portland, OR 97205

Donn Christiansen

c/o Michael S. Morey

Michael S. Morey P.C.

8 N. State Street, Suite 301

Lake Oswego, OR 97034
Chairman, Tort Claimants
Official Committee

Scott Beckstead

Attorney at Law

P.O. Box 700

Waldport, OR 97394
Attorneys for Tort Claimant
Peter F. Carlich

Richard J. Whittemore

Bullivant Houser Bailey, P.C.

300 Pioneer Tower

888 S.W. Fifth Avenue

Portland, OR 97204-2089
Attorneys for Mount Angel
Abbey

John Pincetich

P. O. Box 2023

Gearhart, OR 97138
Interested Party

REQUESTS FOR NOTICE:

Joseph A. Field

Field & Associates

610 S.W. Alder Street, Suite 910

Portland, OR 97205
Attorneys for ACE Group and
ACE Property & Casualty
Company

Kevin P. Kamraczewski

Robert Millner

Sonnenschein, Nath & Rosenthal, LLP

8000 Sears Tower

Chicago, IL 60606
Attorneys for ACE Group and
ACE Property & Casualty
Company

Richard T. Anderson, Jr.
Anderson & Monson, P.C.
Park Plaza West - Suite 460
10700 SW Beaverton-Hillsdale Hwy.
Beaverton, OR 97005
Interested Party

Peter C. McKittrick
Tara J. Schleicher
Farleigh, Wada & Witt, P.C.
600 Bank of America Financial Center
121 S.W. Morrison Street
Portland, OR 97204-3192
Attorneys for Tort Claimants
C.B., John Doe 104, John
Doe 105 and John V. Doe

Kevin K. Strever
William A. Barton
Barton & Strever P.C.
214 S.W. Coast Highway
P. O. Box 870
Newport, OR 97365
Attorneys for Tort Claimant C.B

Page 1 of 3— LIST OF INTERESTED PARTIES

032545\00001\582996 VOO01

Case 04-37154-tmb11 Doc 640

U.S. Bankruptcy Court Case No. 04-37154-elp11

Richard C. Josephson

Stephen A. Redshaw

Stoel Rives LLP

900 S.W. Fifth Avenue, Suite 2600

Portland, OR 97204-1268
Attorneys for Catholic Charities
of Oregon, Inc. and Catholic
Youth Organization/Camp
Howard

David B. Levant

Stoel Rives LLP

Suite 3600, One Union Square

600 University Street

Seattle, WA 98101-3197
Attorneys for Catholic Charities
of Oregon, Inc. and Catholic
Youth Organization/Camp
Howard

Gary A. Bisaccio
Attorney at Law
2125 S.W. Fourth Avenue, Suite 600
Portland, OR 97201
Attorneys for Matthew J.
Clemens

Karl I. Mullen
Attorney at Law
8225 S.W. Fairway Drive, Suite 100
Portland, OR 97225
Attorneys for Creditors Nathan
and Deborah DuFresne

Paul E. DuFresne
5135 S.W. 85th Avenue
Portland, OR 97225

G.G., RWF, DC and David Coombs
c/o Michael S. Morey

Michael S. Morey P.C.

8 N. State Street, Suite 301

Lake Oswego, OR 97034

Cameo L. Garrett

4875 Harnden Road

Cashmere, WA 98815
Creditor Pro Se

(11/22/2004)

Filed 11/22/04

 
Russell D. Garrett

John A. Bennett

Bullivant, Houser, Bailey, P.C.

805 Broadway Street, Suite 400

Vancouver, WA 98660-2962
Attorneys for General Insurance
Co. of America

Debra A. Dandeneau

Weil, Gotshal & Manges, LLP

767 Fifth Avenue

New York, NY 10153
Attorneys for General Insurance
Co. of America

Charles R. Markley
Greene & Markley, P.C.
1515 S. W. Fifth Avenue, Suite 600
Portland, Oregon 97201
Interested Party

Gary W. Hahn

Hahn and Associates, Inc.

Environmental Consultants

434 N. W. Sixth Avenue, Suite 203

Portland, OR 97209-3651
Unsecured Creditor

Holy Family Catholic Church
3732 S.E. Knapp Street
Portland, OR 97202

Kelly W.G. Clark

O'Donnell & Clark, LLP

1706 N.W. Glisan Street, Suite 6

Portland, OR 97209
Attorneys for Priest Abuse
Claimants SNB, JC, AGY and
REC, JCM, John Doe 1, John
Smith, LD, DM, FM, HS and
MM, GM, RM, CM, BG and MJ

Neil T. Jorgenson

Attorney at Law

520 SW Sixth Avenue, Suite 820

Portland, OR 97204-1514
Attorneys for Priest Abuse
Claimants SNB, JC, AGY and
REC, JCM, John Doe 1, John
Smith, LD, DM, FM, HS and
MM, GM, RM, CM, BG and MJ

Catherine S. Travis
Lane Powell Spears Lubersky LLP
601 S.W. Second Avenue, Suite 2100
Portland, OR 97204-3158

Attorneys for KeyBank N.A.

Margaret M. Anderson

Patrick M. Jones

Lord, Bissell & Brook LLP

115 South LaSalle Street

Chicago, IL 60603
Attorneys for Certain
Underwriters at Lloyd's London

Thomas W. Brown
Cosgrave Vergeer Kester LLP
805 S.W. Broadway, 8th Floor
Portland, OR 97205
Attorneys for Certain
Underwriters at Lloyd's London

Craig McMillin

Mills & McMillin, P.C.

715 Commercial Street, N.E.
Salem, OR 97301

Thomas C. Sand
Jerry B. Hodson
Teresa H. Pearson
Miller Nash LLP
111 S.W. Fifth Avenue, Suite 3400
Portland, OR 97204
Special Counsel for Debtor

Robert J. Vanden Bos
Vanden Bos & Chapman, LLP
Suite 520, The Spalding Building
319 S.W. Washington Street
Portland, OR 97204-2690

Attorneys for Michael S. Morey

Dana Shelton

Recovery Specialist - Recovery Dept.
NOVA Information Systems, Inc.
7300 Chapman Highway

Knoxville, TN 37920

Phoebe Joan O'Neill
1500 S.W. Fifth Avenue, Unit 703
Portland, OR 97201

Aaron Munter, Executive Director
Oregon Educational

Technology Consortium (OQETC)
8995 S.W. Miley Road, Suite 101
Wilsonville, OR 97070-5485

Page 2 of 3 —- LIST OF INTERESTED PARTIES
Case 04-37154-tmb11 Doc 640 Filed 11/22/04

032545\00001\582996 VO01

John L. Langslet

Scott A. Kamin

Martin, Bischoff, Templeton,

Langslet & Hoffman

900 Pioneer Tower

888 SW Fifth Avenue

Portland, OR 97204
Attorneys for Oregon Insurance
Guaranty Association

Steven M. Hedberg

Douglas R. Pahl

Perkins Coie LLP

1120 NW Couch Street, 10th Floor

Portland, OR 97209-4128
Attorneys for Parishes and
Parishioners Committee

Marilyn Podemski
Attorney at Law

2477 S.W. Arden Road
Portland, OR 97201

James A. Hayes, Jr.

Cummins & White, LLP

2424 S.E. Bristol Street, Suite 300

Newport Beach, CA 92660
Attorneys for Roman Catholic
Bishop of Orange (California)

L. Martin Nussbaum

Eric Hall

Rothgerber Johnson & Lyons LLP

Wells Fargo Tower, Suite 1100

90 South Cascade Avenue

Colorado Springs, CO 80903
Special Counsel for Debtor

Jonathan E. Cohen
Jonathan E. Cohen, P.C.
1450 American Bank Building
621 S.W. Morrison Street
Portland, OR 97205
Attorneys for St. Mary's Home

Steven C. Berman
Stoll Stoll Berne
Lokting & Shlachter, P.C.
209 S.W. Oak Street, Suite 500
Portland, OR 97204-2798
Attorneys for St. Mary's Home

(11/22/2004)

 
Eric J, Neiman

Heather J. Van Meter

Williams, Kastner & Gibbs PLLC

333 S.W. Taylor Street

Portland, OR 97204-2496
Attorneys for Saint Paul
Mercury Indemnity Company
and St. Paul Fire and Marine
Insurance Company

Scott L. Jensen
Brownstein, Rask, Sweeney, Kerr,
Grim, DeSylvia & Hay, LLP
1200 S.W. Main Street
Portland, OR 97205-2040
Attorneys for St. Therese Parish
and Reimers & Jolivette, Inc.

Thomas V. Dulcich
Margaret Hoffman
Schwabe Williamson & Wyatt PC
1600-1800 Pacwest Center
1211 SW Fifth Avenue
Portland, OR 97204
Special Counsel for Debtor

Linda Boyle

Time Warner Telecom Inc.
10475 Park Meadows Dr., #400
Littleton, CO 80124

Mary Ann Kilgore

General Attomey

Union Pacific Railroad Company
1400 Douglas Street, MC 1580
Omaha, NE 68179

Fred C. Ruby

Assistant Attorney General

Department of Justice

1162 Court Street, N.E.

Salem, OR 97301-4096
Attorneys for State of Oregon,
Department of Human
Resources, Oregon Youth
Authority and MacLaren
School for Boys

Erin K. Olson

Law Office of Erin Olson, P.C.

806 SW Broadway, Suite 800

Portland, OR 97205-3310
Attorneys for Tort Claimants
Gary Mitts, Kenneth Nail,
Stephen Walsh, MJD, CS, GP,
James Devereaux, MY and SL

Brad T. Summers

Daniel R. Webert

Ball Janik LLP

1100 One Main Place

101 S.W. Main Street

Portland, OR 97204-3219
Attorneys for Central Catholic
High School

David L. Slader

David Slader Trial Lawyers P.C.

Jackson Tower - Suite 400

806 SW Broadway

Portland, OR 97205
Attorneys for Tort Claimants
S.L., G.P., H.S.2, J.C.1, J.D.,
S.W., M.J.D. and MLY.

Page 3 of 3— LIST OF INTERESTED PARTIES

032545\00001\582996 V001

Case 04-37154-tmb11 Doc 640 Filed 11/22/04

 

(11/22/2004)

 

 
